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                                                                                                  INVOICE
                                                                                        From      Texas Appleseed
                                                                                                  1609 Shoal Creek Blvd
                                                                                                  Ste 201
                                                                                                  Austin, TX 78701




Invoice ID        30                                                               Invoice For    Texas DFPS/HHSC
Issue Date        02/03/2022

Due Date          03/05/2022 (Net 30)

Subject           Texas Appleseed Monitoring Team; January
                  2022




Item Type         Description                                                         Quantity          Unit Price              Amount

Service           Texas Foster Care Monitoring (01/01/2022 - 01/31/2022)             2,164.57            $286.99           $621,204.30


                                                                                                 Amount Due            $621,204.30




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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                                                                                           INVOICE
                                                                                  From     Texas Appleseed
                                                                                           1609 Shoal Creek Blvd
                                                                                           Ste 201
                                                                                           Austin, TX 78701




Invoice ID       30                                                          Invoice For   Texas DFPS/HHSC
Issue Date       02/03/2022

Due Date         03/05/2022 (Net 30)

Subject          Texas Appleseed Monitoring Team; January
                 2022




Item Type        Description                                                    Quantity         Unit Price          Amount

Service          Texas Foster Care Monitoring - 01/01/2022 - EVE/WKND              7.50           $425.00          $3,187.50
                 Report and Document Preparation / Deborah Fowler


Service          Texas Foster Care Monitoring - 01/02/2022 - EVE/WKND              7.50           $425.00          $3,187.50
                 Report and Document Preparation / Deborah Fowler


Service          Texas Foster Care Monitoring - 01/03/2022 - Document              8.00           $395.00          $3,160.00
                 Review/Data Analysis/Verification Work / Linda Brooke


Service          Texas Foster Care Monitoring - 01/03/2022 - Document              5.17           $325.00          $1,680.25
                 Review/Data Analysis/Verification Work / Nancy Arrigona


Service          Texas Foster Care Monitoring - 01/03/2022 - EVE/WKND              8.00           $425.00          $3,400.00
                 Report and Document Preparation / Deborah Fowler


Service          Texas Foster Care Monitoring - 01/03/2022 - Document              0.65           $325.00           $211.25
                 Review/Data Analysis/Verification Work / Victoria Foster


Service          Texas Foster Care Monitoring - 01/03/2022 - Document              2.00           $250.00           $500.00
                 Review/Data Analysis/Verification Work / Catherine Morris


Service          Texas Foster Care Monitoring - 01/03/2022 - Document              3.08           $250.00           $770.00
                 Review/Data Analysis/Verification Work / Catherine Morris


Service          Texas Foster Care Monitoring - 01/03/2022 - Document              2.00           $395.00           $790.00
                 Review/Data Analysis/Verification Work / Beth Mitchell




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Service       Texas Foster Care Monitoring - 01/04/2022 - Document                6.50   $200.00   $1,300.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 01/04/2022 - Document                4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 01/04/2022 - Document                8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 01/04/2022 - Project                 1.00   $300.00    $300.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 01/04/2022 - Meetings with           1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 01/04/2022 - Document                7.00   $325.00   $2,275.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 01/04/2022 - Project                 1.00   $325.00    $325.00
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 01/04/2022 - Meetings with           0.93   $325.00    $302.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Victoria
              Foster


Service       Texas Foster Care Monitoring - 01/04/2022 - Document                5.50   $325.00   $1,787.50
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 01/04/2022 - Document                8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 01/04/2022 - Meetings with           1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Catherine
              Morris


Service       Texas Foster Care Monitoring - 01/04/2022 - Report and              2.50   $425.00   $1,062.50
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 01/04/2022 - EVE/WKND                1.00   $425.00    $425.00
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 01/04/2022 - Document                1.50   $395.00    $592.50
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 01/04/2022 - Project                 3.75   $395.00   $1,481.25
              Management & Planning / Linda Brooke




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Service       Texas Foster Care Monitoring - 01/04/2022 - Document              2.25   $395.00    $888.75
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 01/04/2022 - Report and            4.17   $395.00   $1,647.15
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 01/04/2022 - Meetings with         1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 01/04/2022 - Document              8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 01/04/2022 - Project               6.00   $325.00   $1,950.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 01/05/2022 - Meetings with         2.00   $250.00    $500.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 01/05/2022 - Document              1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 01/05/2022 - Project               1.00   $325.00    $325.00
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 01/05/2022 - Meetings with         1.00   $325.00    $325.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 01/05/2022 - Document              6.83   $325.00   $2,219.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 01/05/2022 - Document              5.00   $300.00   $1,500.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 01/05/2022 - Meetings with         1.00   $300.00    $300.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Monica
              Benedict


Service       Texas Foster Care Monitoring - 01/05/2022 - Project               1.00   $300.00    $300.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 01/05/2022 - Document              2.75   $325.00    $893.75
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 01/05/2022 - Document              4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


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Service       Texas Foster Care Monitoring - 01/05/2022 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 01/05/2022 - Document              8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer


Service       Texas Foster Care Monitoring - 01/05/2022 - Document              7.42   $325.00   $2,411.50
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 01/05/2022 - Meetings with         0.75   $425.00    $318.75
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 01/05/2022 - Report and            2.00   $425.00    $850.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 01/05/2022 - EVE/WKND              1.00   $425.00    $425.00
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 01/05/2022 - Document              5.33   $395.00   $2,105.35
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 01/05/2022 - Report and            2.83   $395.00   $1,117.85
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 01/05/2022 - Meetings with         1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 01/05/2022 - Document              8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 01/05/2022 - Document              8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 01/05/2022 - Meetings with         1.30   $325.00    $422.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Viveca
              Martinez


Service       Texas Foster Care Monitoring - 01/05/2022 - Project               7.00   $325.00   $2,275.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 01/06/2022 - Meetings with         1.58   $250.00    $395.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 01/06/2022 - Project               3.00   $300.00    $900.00
              Management & Planning / Monica Benedict



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Service       Texas Foster Care Monitoring - 01/06/2022 - Document              6.50   $300.00   $1,950.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 01/06/2022 - Document              4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 01/06/2022 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 01/06/2022 - Document              8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 01/06/2022 - Meetings with         2.00   $200.00    $400.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nora
              Sawyer


Service       Texas Foster Care Monitoring - 01/06/2022 - Document              6.00   $200.00   $1,200.00
              Review/Data Analysis/Verification Work / Nora Sawyer


Service       Texas Foster Care Monitoring - 01/06/2022 - Document              8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 01/06/2022 - Meetings with         1.00   $425.00    $425.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 01/06/2022 - Report and            4.00   $425.00   $1,700.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 01/06/2022 - EVE/WKND              2.00   $425.00    $850.00
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 01/06/2022 - Document              2.00   $395.00    $790.00
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 01/06/2022 - Meetings with         1.50   $395.00    $592.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 01/06/2022 - Report and            4.75   $395.00   $1,876.25
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 01/06/2022 - Project               0.75   $395.00    $296.25
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 01/06/2022 - Document              2.33   $395.00    $920.35
              Review/Data Analysis/Verification Work / Linda Brooke




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Service       Texas Foster Care Monitoring - 01/06/2022 - Document              8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 01/06/2022 - Document              8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 01/06/2022 - Meetings with         1.30   $325.00    $422.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Viveca
              Martinez


Service       Texas Foster Care Monitoring - 01/06/2022 - Project               7.00   $325.00   $2,275.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 01/07/2022 - Document              1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 01/07/2022 - Project               1.50   $300.00    $450.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 01/07/2022 - Document              7.00   $300.00   $2,100.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 01/07/2022 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 01/07/2022 - Document              8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 01/07/2022 - Document              9.00   $200.00   $1,800.00
              Review/Data Analysis/Verification Work / Nora Sawyer


Service       Texas Foster Care Monitoring - 01/07/2022 - Document              6.25   $325.00   $2,031.25
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 01/07/2022 - Document              1.50   $250.00    $375.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 01/07/2022 - Document              1.75   $250.00    $437.50
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 01/07/2022 - Report and            4.00   $425.00   $1,700.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 01/07/2022 - Document              2.50   $395.00    $987.50
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 01/07/2022 - Report and            7.50   $395.00   $2,962.50
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 01/07/2022 - Project               1.17   $395.00    $462.15
              Management & Planning / Linda Brooke


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Service       Texas Foster Care Monitoring - 01/07/2022 - Document              1.17   $395.00    $462.15
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 01/07/2022 - Document              8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 01/07/2022 - Document              8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 01/07/2022 - Document              2.25   $325.00    $731.25
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 01/07/2022 - Project               8.00   $325.00   $2,600.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 01/08/2022 - Document              4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 01/08/2022 - EVE/WKND              8.00   $425.00   $3,400.00
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 01/08/2022 - Document              2.50   $395.00    $987.50
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 01/08/2022 - Report and            1.00   $395.00    $395.00
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 01/08/2022 - Document              1.33   $395.00    $525.35
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 01/09/2022 - Document              2.00   $325.00    $650.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 01/09/2022 - EVE/WKND              5.50   $425.00   $2,337.50
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 01/10/2022 - Document              6.00   $200.00   $1,200.00
              Review/Data Analysis/Verification Work / Nora Sawyer


Service       Texas Foster Care Monitoring - 01/10/2022 - Meetings with         1.50   $250.00    $375.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 01/10/2022 - Document              3.00   $250.00    $750.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 01/10/2022 - Meetings with         1.83   $250.00    $457.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody




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Service       Texas Foster Care Monitoring - 01/10/2022 - Document                 6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 01/10/2022 - Document                 7.50   $325.00   $2,437.50
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 01/10/2022 - Meetings with            1.50   $325.00    $487.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 01/10/2022 - Meetings with            5.50   $325.00   $1,787.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 01/10/2022 - Meetings with            2.00   $200.00    $400.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nora
              Sawyer


Service       Texas Foster Care Monitoring - 01/10/2022 - Document                 4.00   $300.00   $1,200.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 01/10/2022 - Project                  2.00   $300.00    $600.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 01/10/2022 - Meetings with            1.78   $250.00    $445.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 01/10/2022 - Document                 6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 01/10/2022 - Document                 0.58   $250.00    $145.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 01/10/2022 - Meetings with            1.50   $250.00    $375.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Catherine
              Morris


Service       Texas Foster Care Monitoring - 01/10/2022 - Document                 1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 01/10/2022 - Meetings with            4.00   $425.00   $1,700.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 01/10/2022 - Document                 1.00   $395.00    $395.00
              Review/Data Analysis/Verification Work / Beth Mitchell




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Service        Texas Foster Care Monitoring - 01/10/2022 - Meetings with          1.50   $395.00    $592.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 01/10/2022 - Meetings with          1.50   $325.00    $487.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Rebecca
               Mc Cullough


Service        Texas Foster Care Monitoring - 01/10/2022 - Document               4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/10/2022 - Meetings with          1.25   $325.00    $406.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 01/10/2022 - Document               2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/10/2022 - Meetings with          1.50   $395.00    $592.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/10/2022 - Document               5.50   $395.00   $2,172.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/10/2022 - Project                1.00   $395.00    $395.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/10/2022 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/10/2022 - Report and             0.50   $425.00    $212.50
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/10/2022 - EVE/WKND               1.50   $425.00    $637.50
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/10/2022 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/10/2022 - Project                1.25   $200.00    $250.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/10/2022 - Document               6.75   $200.00   $1,350.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/10/2022 - Project                8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez


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Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              5.67   $200.00   $1,134.00
               Proceeding / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/11/2022 - Document              2.33   $200.00    $466.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              5.00   $325.00   $1,625.00
               Proceeding / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              5.67   $325.00   $1,842.75
               Proceeding / Monica Santiago


Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              4.50   $325.00   $1,462.50
               Proceeding / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              5.67   $325.00   $1,842.75
               Proceeding / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/11/2022 - Document              2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/11/2022 - Document              2.25   $325.00    $731.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              3.00   $300.00    $900.00
               Proceeding / Monica Benedict


Service        Texas Foster Care Monitoring - 01/11/2022 - Document              4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              5.67   $250.00   $1,417.50
               Proceeding / Shay Price


Service        Texas Foster Care Monitoring - 01/11/2022 - Document              2.33   $250.00    $582.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              5.67   $250.00   $1,417.50
               Proceeding / Deborah Borman


Service        Texas Foster Care Monitoring - 01/11/2022 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              5.67   $250.00   $1,417.50
               Proceeding / Catherine Morris


Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              5.67   $395.00   $2,239.65
               Proceeding / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              5.67   $325.00   $1,842.75
               Proceeding / Rebecca Mc Cullough


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Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              5.67   $325.00   $1,842.75
               Proceeding / Victoria Foster


Service        Texas Foster Care Monitoring - 01/11/2022 - Document              1.75   $325.00    $568.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/11/2022 - Meetings with         3.67   $395.00   $1,449.65
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/11/2022 - Document              5.50   $395.00   $2,172.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/11/2022 - Document              3.00   $120.00    $360.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              5.67   $120.00    $680.40
               Proceeding / Anna Farr


Service        Texas Foster Care Monitoring - 01/11/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              5.67   $425.00   $2,409.75
               Proceeding / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/11/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              5.67   $200.00   $1,134.00
               Proceeding / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/11/2022 - Document              2.33   $200.00    $466.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/11/2022 - Judicial              5.67   $325.00   $1,842.75
               Proceeding / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/11/2022 - Project               3.00   $325.00    $975.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/12/2022 - Document              5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/12/2022 - Project               0.50   $300.00    $150.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/12/2022 - Document              5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict




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Service        Texas Foster Care Monitoring - 01/12/2022 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/12/2022 - Document              9.00   $325.00   $2,925.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/12/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/12/2022 - Document              0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/12/2022 - Document              3.33   $395.00   $1,315.35
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/12/2022 - Document              5.75   $325.00   $1,868.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/12/2022 - Document              8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/12/2022 - Meetings with         0.50   $395.00    $197.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/12/2022 - Project               0.75   $395.00    $296.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/12/2022 - Document              8.25   $395.00   $3,258.75
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/12/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/12/2022 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/12/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/12/2022 - Meetings with         0.50   $425.00    $212.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/12/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/12/2022 - Document              6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar



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Service        Texas Foster Care Monitoring - 01/12/2022 - Meetings with         0.30   $325.00     $97.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/12/2022 - Project               7.00   $325.00   $2,275.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/13/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/13/2022 - Document              2.33   $250.00    $582.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/13/2022 - Meetings with         4.00   $250.00   $1,000.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/13/2022 - Document              1.58   $250.00    $395.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/13/2022 - Document              4.67   $395.00   $1,844.65
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/13/2022 - Document              4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Rebecca Mc Cullough


Service        Texas Foster Care Monitoring - 01/13/2022 - Document              4.78   $325.00   $1,553.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/13/2022 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/13/2022 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/13/2022 - Meetings with         1.83   $395.00    $722.85
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/13/2022 - Document              6.33   $395.00   $2,500.35
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/13/2022 - Document              1.25   $250.00    $312.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/13/2022 - Document              6.75   $250.00   $1,687.50
               Review/Data Analysis/Verification Work / Shay Price




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Service        Texas Foster Care Monitoring - 01/13/2022 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/13/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/13/2022 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/13/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/13/2022 - EVE/WKND              0.25   $425.00    $106.25
               Meetings with agency leadership, staff, clients, conference
               calls, time spent with team, plaintiffs consultants or other
               providers. / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/13/2022 - Meetings with         3.00   $325.00    $975.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/13/2022 - Project               6.00   $325.00   $1,950.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/14/2022 - Document              1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/14/2022 - Meetings with         3.00   $250.00    $750.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/14/2022 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/14/2022 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/14/2022 - Project               0.50   $325.00    $162.50
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/14/2022 - Meetings with         3.67   $395.00   $1,449.65
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/14/2022 - Report and            0.75   $395.00    $296.25
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 01/14/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


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Service        Texas Foster Care Monitoring - 01/14/2022 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/14/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/14/2022 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/14/2022 - Document              2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/14/2022 - EVE/WKND              0.33   $425.00    $140.25
               Meetings with agency leadership, staff, clients, conference
               calls, time spent with team, plaintiffs consultants or other
               providers. / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/14/2022 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/14/2022 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/14/2022 - Document              0.42   $250.00    $105.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/14/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/14/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/14/2022 - Document              7.30   $325.00   $2,372.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/14/2022 - Document              5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Rebecca Mc Cullough


Service        Texas Foster Care Monitoring - 01/14/2022 - Meetings with         0.33   $325.00    $107.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Rebecca
               Mc Cullough


Service        Texas Foster Care Monitoring - 01/14/2022 - Meetings with         2.00   $325.00    $650.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/14/2022 - Project               6.00   $325.00   $1,950.00
               Management & Planning / Viveca Martinez




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Service        Texas Foster Care Monitoring - 01/15/2022 - Document              3.58   $325.00   $1,163.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/15/2022 - Document              3.83   $395.00   $1,512.85
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/15/2022 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/15/2022 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/15/2022 - EVE/WKND              8.00   $425.00   $3,400.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/16/2022 - Document              1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/16/2022 - EVE/WKND              8.00   $425.00   $3,400.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/17/2022 - Meetings with         1.25   $395.00    $493.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/17/2022 - Document              5.75   $395.00   $2,271.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/17/2022 - Document              6.25   $325.00   $2,031.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/17/2022 - Document              6.58   $325.00   $2,138.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/17/2022 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/17/2022 - EVE/WKND              8.00   $425.00   $3,400.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/18/2022 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 01/18/2022 - Document              6.35   $325.00   $2,063.75
               Review/Data Analysis/Verification Work / Monica Santiago



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Service        Texas Foster Care Monitoring - 01/18/2022 - Document                6.50   $250.00   $1,625.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/18/2022 - Document                9.50   $325.00   $3,087.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/18/2022 - Document                4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/18/2022 - Project                 1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/18/2022 - Document                8.17   $325.00   $2,655.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/18/2022 - Document                6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/18/2022 - Document                8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/18/2022 - Meetings with           0.33   $250.00     $82.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 01/18/2022 - Document                1.17   $250.00    $292.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/18/2022 - Document                8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/18/2022 - Document                2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/18/2022 - Document                1.75   $325.00    $568.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/18/2022 - Document                8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/18/2022 - Project                 1.00   $200.00    $200.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/18/2022 - Document                7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/18/2022 - Document                8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr




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Service        Texas Foster Care Monitoring - 01/18/2022 - Document              2.00   $425.00    $850.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/18/2022 - Document              1.33   $325.00    $432.25
               Review/Data Analysis/Verification Work / Rebecca Mc Cullough


Service        Texas Foster Care Monitoring - 01/18/2022 - Project               1.50   $395.00    $592.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/18/2022 - Document              7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/18/2022 - Meetings with         4.00   $325.00   $1,300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/18/2022 - Project               4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              8.73   $325.00   $2,837.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              8.75   $325.00   $2,843.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/19/2022 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              4.50   $250.00   $1,125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              0.17   $250.00     $42.50
               Review/Data Analysis/Verification Work / Catherine Morris




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Service        Texas Foster Care Monitoring - 01/19/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              3.93   $325.00   $1,277.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              2.58   $325.00    $838.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/19/2022 - Project               1.00   $200.00    $200.00
               Management & Planning / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              2.00   $425.00    $850.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Rebecca Mc Cullough


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              5.50   $325.00   $1,787.50
               Review/Data Analysis/Verification Work / Rebecca Mc Cullough


Service        Texas Foster Care Monitoring - 01/19/2022 - Document              7.42   $395.00   $2,930.90
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/19/2022 - Project               0.75   $395.00    $296.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/19/2022 - Project               8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/20/2022 - Meetings with         1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/20/2022 - Document              5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/20/2022 - Document              6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/20/2022 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


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Service        Texas Foster Care Monitoring - 01/20/2022 - Document                8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/20/2022 - Document                5.25   $325.00   $1,706.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/20/2022 - Meetings with           1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 01/20/2022 - Document                5.92   $250.00   $1,480.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/20/2022 - Document                8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/20/2022 - Document                7.25   $325.00   $2,356.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/20/2022 - Project                 0.75   $325.00    $243.75
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/20/2022 - Document                1.42   $325.00    $461.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/20/2022 - Document                4.75   $325.00   $1,543.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/20/2022 - Document                4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/20/2022 - Document                8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/20/2022 - Document                8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/20/2022 - Document                8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/20/2022 - Meetings with           0.50   $425.00    $212.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/20/2022 - Meetings with           1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler




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Service        Texas Foster Care Monitoring - 01/20/2022 - Meetings with         1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/20/2022 - Document              8.00   $395.00   $3,160.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/20/2022 - Project               1.17   $395.00    $462.15
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/20/2022 - Meetings with         4.50   $325.00   $1,462.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/20/2022 - Project               4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/21/2022 - Document              0.17   $250.00     $42.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/21/2022 - Document              3.00   $300.00    $900.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/21/2022 - Project               2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/21/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/21/2022 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/21/2022 - Document              8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/21/2022 - Document              6.10   $325.00   $1,982.50
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/21/2022 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/21/2022 - Document              7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/21/2022 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/21/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer




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Service        Texas Foster Care Monitoring - 01/21/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/21/2022 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/21/2022 - Meetings with         5.00   $425.00   $2,125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/21/2022 - Meetings with         0.50   $425.00    $212.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/21/2022 - Document              7.25   $395.00   $2,863.75
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/21/2022 - Project               0.33   $395.00    $130.35
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/21/2022 -                       0.75   $395.00    $296.25
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Linda Brooke


Service        Texas Foster Care Monitoring - 01/21/2022 - Meetings with         1.50   $325.00    $487.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/21/2022 - Project               5.00   $325.00   $1,625.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/22/2022 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/22/2022 - Meetings with         0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/22/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/22/2022 - EVE/WKND              8.00   $425.00   $3,400.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/22/2022 - Document              6.00   $395.00   $2,370.00
               Review/Data Analysis/Verification Work / Linda Brooke




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Service        Texas Foster Care Monitoring - 01/23/2022 - Document         2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/23/2022 - Document         4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/23/2022 - EVE/WKND         6.00   $425.00   $2,550.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/23/2022 - Document         3.17   $395.00   $1,252.15
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/24/2022 - Document         4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/24/2022 - Document         5.08   $325.00   $1,651.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/24/2022 - Document         6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/24/2022 - Project          1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/24/2022 - Document         8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/24/2022 - Document         8.75   $325.00   $2,843.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/24/2022 - Document         8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/24/2022 - Document         6.25   $325.00   $2,031.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/24/2022 - Document         1.75   $325.00    $568.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/24/2022 - Document         8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/24/2022 - Document         8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/24/2022 - Document         8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/24/2022 - Document         8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


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Service        Texas Foster Care Monitoring - 01/24/2022 - Document               8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/24/2022 - Document               5.00   $425.00   $2,125.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/24/2022 - Document               3.75   $395.00   $1,481.25
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/24/2022 - Project                0.83   $395.00    $327.85
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/24/2022 - Document               9.00   $395.00   $3,555.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/24/2022 - Meetings with          1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/24/2022 - Project                7.00   $325.00   $2,275.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/25/2022 - Document               6.55   $325.00   $2,128.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/25/2022 - Project                1.50   $300.00    $450.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/25/2022 - Document               5.50   $300.00   $1,650.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/25/2022 - Document              10.00   $250.00   $2,500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/25/2022 - Document               8.92   $325.00   $2,899.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/25/2022 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/25/2022 - Document               4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/25/2022 - Meetings with          1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/25/2022 - Document               8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers



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Service        Texas Foster Care Monitoring - 01/25/2022 - Document              7.70   $325.00   $2,502.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/25/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/25/2022 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/25/2022 - Project               1.00   $200.00    $200.00
               Management & Planning / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/25/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/25/2022 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/25/2022 - Report and            2.50   $425.00   $1,062.50
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/25/2022 - Document              2.00   $395.00    $790.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/25/2022 - Document              6.42   $395.00   $2,535.90
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/25/2022 - Project               0.75   $395.00    $296.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/25/2022 - Meetings with         1.17   $395.00    $462.15
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/25/2022 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/25/2022 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/25/2022 - Project               2.00   $325.00    $650.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/26/2022 - Document              5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/26/2022 - Meetings with         1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman




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Service        Texas Foster Care Monitoring - 01/26/2022 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/26/2022 - Document               7.50   $300.00   $2,250.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/26/2022 - Document               7.50   $325.00   $2,437.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/26/2022 - Document              10.83   $325.00   $3,519.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/26/2022 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/26/2022 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/26/2022 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/26/2022 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/26/2022 - Document               4.50   $425.00   $1,912.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/26/2022 - Meetings with          0.50   $425.00    $212.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/26/2022 - Document               5.17   $395.00   $2,042.15
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/26/2022 - Project                1.67   $395.00    $659.65
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/26/2022 - Document               7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/26/2022 - Report and             0.50   $395.00    $197.50
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 01/26/2022 - Document               5.17   $250.00   $1,292.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/26/2022 -                        0.25   $250.00     $62.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Catherine Morris




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Service        Texas Foster Care Monitoring - 01/26/2022 - Meetings with            0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 01/26/2022 - Document                 7.50   $250.00   $1,875.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/26/2022 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/26/2022 - Document                 7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/27/2022 - Document                 2.75   $325.00    $893.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/27/2022 - Project                  4.00   $300.00   $1,200.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/27/2022 - Meetings with            1.50   $300.00    $450.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 01/27/2022 - Document                 1.50   $300.00    $450.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/27/2022 - Document                 7.25   $325.00   $2,356.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/27/2022 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 01/27/2022 - Document                 2.83   $325.00    $919.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/27/2022 - Document                 5.50   $250.00   $1,375.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/27/2022 - Meetings with            1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 01/27/2022 - Document                 6.50   $250.00   $1,625.00
               Review/Data Analysis/Verification Work / Shay Price




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Service        Texas Foster Care Monitoring - 01/27/2022 - Document              6.92   $325.00   $2,249.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/27/2022 - Meetings with         1.50   $325.00    $487.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 01/27/2022 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/27/2022 - Project               1.00   $200.00    $200.00
               Management & Planning / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/27/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/27/2022 - Document              6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/27/2022 - Project               1.50   $200.00    $300.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/27/2022 - Document              6.50   $120.00    $780.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/27/2022 - Project               1.50   $120.00    $180.00
               Management & Planning / Anna Farr


Service        Texas Foster Care Monitoring - 01/27/2022 - Document              3.25   $395.00   $1,283.75
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/27/2022 - Meetings with         1.50   $395.00    $592.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 01/27/2022 - Meetings with         1.50   $395.00    $592.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/27/2022 - Project               0.50   $395.00    $197.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/27/2022 - Document              7.67   $395.00   $3,029.65
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/27/2022 -                       0.75   $250.00    $187.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Catherine Morris



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Service        Texas Foster Care Monitoring - 01/27/2022 - Document               0.42   $250.00    $105.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/27/2022 - Document               1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/27/2022 - Document               0.08   $250.00     $20.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/27/2022 - Document               6.50   $250.00   $1,625.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/27/2022 - Meetings with          1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 01/27/2022 - Meetings with          7.00   $325.00   $2,275.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/27/2022 - Document               2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               3.40   $325.00   $1,105.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               4.85   $325.00   $1,576.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/28/2022 - Meetings with          2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/28/2022 - Project                1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price




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Service        Texas Foster Care Monitoring - 01/28/2022 - Document               8.17   $325.00   $2,655.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               0.75   $425.00    $318.75
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/28/2022 - Report and             1.00   $425.00    $425.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/28/2022 - EVE/WKND               1.00   $425.00    $425.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/28/2022 -                        2.00   $250.00    $500.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Deborah Borman


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               4.00   $395.00   $1,580.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               7.92   $395.00   $3,128.40
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/28/2022 - Project                0.75   $395.00    $296.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               4.17   $250.00   $1,042.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/28/2022 - Meetings with          0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 01/28/2022 - Document               4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando




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Service        Texas Foster Care Monitoring - 01/28/2022 - Document              3.33   $250.00    $832.50
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/28/2022 - Document              0.17   $250.00     $42.50
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 01/28/2022 - Project               4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/28/2022 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/29/2022 - Document              2.00   $425.00    $850.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/29/2022 - Document              7.50   $250.00   $1,875.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/30/2022 - Report and            2.00   $425.00    $850.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/30/2022 - Document              2.58   $395.00   $1,019.10
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/31/2022 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/31/2022 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/31/2022 - Meetings with         1.33   $250.00    $332.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/31/2022 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/31/2022 - Document              6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/31/2022 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/31/2022 - Document              3.00   $395.00   $1,185.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/31/2022 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers




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Service           Texas Foster Care Monitoring - 01/31/2022 - Document                   8.25            $395.00             $3,258.75
                  Review/Data Analysis/Verification Work / Linda Brooke


Service           Texas Foster Care Monitoring - 01/31/2022 - Project                    0.92            $395.00               $363.40
                  Management & Planning / Linda Brooke


Service           Texas Foster Care Monitoring - 01/31/2022 - Document                   1.00            $325.00               $325.00
                  Review/Data Analysis/Verification Work / Rebecca Mc Cullough


Service           Texas Foster Care Monitoring - 01/31/2022 - Document                   8.00            $250.00             $2,000.00
                  Review/Data Analysis/Verification Work / Veronica Lockett-
                  Villalpando


Service           Texas Foster Care Monitoring - 01/31/2022 - Document                   8.00            $250.00             $2,000.00
                  Review/Data Analysis/Verification Work / Shay Price


Service           Texas Foster Care Monitoring - 01/31/2022 - EVE/WKND                   1.50            $425.00               $637.50
                  Report and Document Preparation / Deborah Fowler


Service           Texas Foster Care Monitoring - 01/31/2022 - Document                   8.00            $200.00             $1,600.00
                  Review/Data Analysis/Verification Work / Adrian Gaspar


Service           Texas Foster Care Monitoring - 01/31/2022 - Document                   3.00            $325.00               $975.00
                  Review/Data Analysis/Verification Work / Viveca Martinez


Service           Texas Foster Care Monitoring - 01/31/2022 - Project                    5.00            $325.00             $1,625.00
                  Management & Planning / Viveca Martinez


Service           Texas Foster Care Monitoring - 01/31/2022 - Document                   8.50            $325.00             $2,762.50
                  Review/Data Analysis/Verification Work / Nancy Arrigona


Service           Texas Foster Care Monitoring - 01/31/2022 - Document                   7.00            $325.00             $2,275.00
                  Review/Data Analysis/Verification Work / Rebecca Mc Cullough


                                                                                                 Amount Due            $621,204.30




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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